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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                                                      JS-6

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 16-02609-ODW(SSx)                                            Date   May 22, 2017
 Title             Jeffrey Adair v. Barclays Bank Delaware




 Present: The                    Otis D. Wright II, United States District Judge
 Honorable
                       Sheila English                                         Terri Hourigan
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Todd M Friedman                                          Jordan S Yu
 Proceedings:                 PRETRIAL CONFERENCE

       Case called. No appearances by either party. On July 12, 2016, the court issued a Scheduling
Order [11]. A Pretrial conference was set for today at 1:30pm. Counsel failed to file the required
paperwork. It is now 1:52pm and still no appearances by either party. The Court dismisses the case
with prejudice for failure to prosecute.




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